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SERVICES PAYMENT AGREEMENT

WHEREAS Steven Nerayoff (‘“Nerayoff’) has been providing services (the
“Services”) to aid with a Crowdsale of
Tokens (the “Crowdsale” or “crowdsale”):

WHEREAS a wishes to compensate Nerayoff if the Crowdsale is
successful;

WHEREAS will issue to Nerayoff 1,350,000,000 (one billion three
hundred fifty million) Tokens and Nerayoff will be entitled to 30,000 ETH (which
Nerayoff is currently holding such ether or equivalent cryptocurrencies for i as nominee)
if the crowdsale raises at least 60,000 ETH including pre-sales and will compensate Nerayoff
with an additional 6,000 ETH if the crowdsale raises 120,000 ETH including pre-sales. Nerayoff
is also entitled to, and i will issue, 900,000,000 (nine hundred million) STORM tokens no
later than the two year anniversary from the end of the token sale.

NOW, THEREFORE, intending to be legally bound, Nerayoff and i agree:

5. 1. This agreement (the "Agreement") is entered into between Nerayoff and a as of
November 3, 2017.

6. 2. Inthe event raises 120,000 ETH in its crowdsale (including pre-sales), it will pa
Nerayoff an additional 6,000 ETH immediately after the crowdsale. In the event
raises 60,000 ETH in its Crowdsale (including pre-sales), Nerayoff will be entitled to keep
the 30,000 ETH or equivalent cryptocurrencies it is holding as nominee for i pursuant
to the Nominee Agreement to be entered into connection herewith.

Tokens upon the close of the Crowdsale if raises at least 60,000 ETH
including pre-sales. Such amount will be delivered immediately after the crowdsale.

3. eo is also entitled to 1,350,000,000 (one-billion three-hundred-fifty million)

8. 4. Nerayoff is also entitled to, and a will issue 900,000,000 (nine hundred million)
STORM Tokens no later than the two year anniversary from the end of the token sale. The
address of such tokens will be provided to Nerayoff immediately upon depositing them into
such address.

9. The terms of this Agreement, the nature of the Services, and the compensation of Nerayoff
by ii for the Services shall not be disclosed by either party to any third party except as by
required by law. The parties agree that any disclosure of information in violation of this
Section 5 shall constitute a material breach of the Agreement.

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10. The interpretation, validity and enforcement of this Agreement, and all legal actions brought
under or in connection with the subject matter of this Agreement, shall be governed by the
law of the State of New York (except that any conflicts-of-law principles of such state that
would result in the application of the law of another jurisdiction shall be disregarded) and
shall be brought only in the United States District Court for the Southern District of New
York or, if such court would not have jurisdiction over the matter, then only in a New York
State court sitting Nassau County, New York. Each party submits to the exclusive
jurisdiction of these courts and agrees not to commence any legal action under or in
connection with the subject matter of this Agreement in any other court or forum.

11. This Agreement constitutes the entire agreement between the parties, and replaces and
supersedes any and all prior agreements between them. This Agreement may not be
amended except in a writing signed by both parties.

12. This Agreement may be executed on separate counterparts, any one of which need not
contain signatures of more than one party, but all of which when taken together shall
constitute one and the same agreement.

DocuSigned by:

By: Chewun, Mrawbff /7/2017
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STEVEN NERAYOFF

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